                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION

 STATE OF TENNESSEE,                               )
                                                   )
        Plaintiff,                                 )
                                                   )              No. 1:23-cv-00068
 v.                                                )
                                                   )              District Judge Campbell
 ALEJANDRO MAYORKAS, in his official               )              Magistrate Judge Holmes
 capacity as Secretary of Homeland Security,       )
 et al.,                                           )
                                                   )
        Defendants.                                )


                               STIPULATION OF DISMISSAL

       Plaintiff State of Tennessee initiated this action to compel disclosure of records it had

sought via Freedom of Information Act (“FOIA”) requests submitted to U.S. Immigration and

Customs Enforcement. Plaintiff sought records related to federal authorities’ immigration-related

activities in Tennessee, as described in the FOIA requests attached to Plaintiff’s Complaint. The

parties have now fully resolved all claims asserted in this matter. Defendants have produced—

subject to withholdings under 5 U.S.C. § 552(b)—357 pages of records and one Excel spreadsheet

in their possession responsive to one or more of Tennessee’s FOIA requests. Accordingly,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties stipulate and agree to

dismiss this action with prejudice, with each party to bear its own attorney’s fees and expenses.




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Dated: September 26, 2024.                       Respectfully submitted,

                                                 JONATHAN SKRMETTI,
                                                 Attorney General and Reporter

                                                 /s/ Steven J. Griffin
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                                                 /s/ Bradley P. Humphreys
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on September 26, 2024,

with the Clerk of Court using the Court’s CM/ECF system, which sent notice of filing to the

following counsel of record:

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                                                     /s/ Steven J. Griffin
                                                     STEVEN J. GRIFFIN




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